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Exhibit D
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Johnson v. Sheffield Financial, Slip Copy (2020)

2020 WL. 3546900
Only the Westlaw citation is currently available.
United States District Court, E.D. Arkansas,
Central Division.

Scout M. JOHNSON, Plainuff
¥.
SHEFFIELD FINANCIAL, a Division of
Branch Banking and Trust Company, Defendant

Case No. 4:19-cv-616-LPR
|
Signed 06/30/2020

Attorneys and Law Firms

Stephen B. Niswanger, Niswanger Law Firm, PLC, Little
Rock, AR, for Plaintiff.

Robert F. Tom, Baker, Donelson, Bearman, Caldwell &
Berkowitz, Memphis, TN, for Defendant.

ORD
LEE P. RUDOFSKY, UNITED STATES DISTRICT JU'DGE

*] Before the Court is Defendant Sheffield Financial's

Motion for Judgment on the Pleadings and Plaintiff Scott
Johnson's Motion and Supplemental Motion for Leave to
File Amended Complaint. * This case has a somewhat
convoluted procedural history. But it is clear what the
Court needs to do now. The Court needs to determine
if Mr. Johnson's most recent proposed amendment to his
Complaint (“Supplemented Amended Complaint”) survives
the arguments made by Sheffield in its Motion for Judgment
on the Pleadings as recently supplemented 3 If one or more
of the claims in the Supplemented Amended Complaint fails,
the Court then needs to determine whether that claim should
be dismissed with prejudice or without prejudice.

1, STATE COMMON LAW CLAIMS

The state common law claims (invasion of privacy and

defamation) are out.* They are preempted for at least two

reasons. First, they are preempted by Fa 15 U.S.C. § 1681Kb)
{!}F). That provision provides that “[nJo requirement or

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prohibition may be imposed under the laws of any State ...
with respect to any subject matter regulated under ... section
168 1s-2 of this title, relating to the responsibilities of persons

who furnish information to consumer reporting agencies...” ;
Itis clear that Sheffield is a furnisher of information to credit
reporting agencies, and that the common law claims at issue
here relate to Sheffield's responsibilities under § 1681s—2
of this title. Mr. Johnson does not really argue against this
point head-on. Rather, he argues that a different preemption

provision is US.C. § l68th(e)) is the more appropriate

preemption provision to apply in these circumstances. * The
Court disagrees. Although my emphasis and legal analysis of
this provision would have been slightly different, I agree with
Chief Judge Marshall's bottom line in Modianya v Capital

One Bank USA NA’ Hlodianva addressed this very issue,

and Chief Judge Marshall correctly determined that Fly
168lub\1\(F) preemption applies irrespective of whether

Fas 1681h(e) preemption might apply as well.

*2 Second, even if Mr. Johnson is correct that Fas
1681h(e} preemption applies instead of Fs 168 1t(by(1 KF)

preemption, the state common law claims still fail. F section
168 th(e} provides as follows:

[N]o may bring any
action or proceeding in the nature

consumer

of defamation, invasion of privacy,
or negligence with respect to the
reporting of information against ... any
person who furnishes information to a
consumer reporting agency ... except
as to false information furnished with
malice or willful intent to injure such

consumer. 4

While Mr. Johnson's Supplemented Amended Complaint

tb,

includes the words “malicious,” “malice,” and “willful”?
those allegations fall clearly into the category of conclusory,
speculative, and bare assertions. There is nothing—in
terms of factual allegations — in the Supplemented Amended
Complaint to suggest that Sheffield reported this account as
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delinquent for any reason other than a good faith belief that
the account was in fact delinquent.

According to the Supplemented Amended Complaint, on
or about July 3, 2015, Mr. Johnson's son, Joshua Johnson,
purchased a 2015 Polaris Ranger 570 utility terrain vehicle

(the “Ranger”). ‘0 Sheffield financed the purchase of the
Ranger. Mr. Johnson cosigned the Note. [n March or April of
2016, Joshua decided that he no longer wanted the Ranger and
contacted Sheffield to so advise. The Supplemented Amended
Complaint alleges that “[i]n early April 2016, Joshua located
a third-pacty purchaser for the Ranger. [Sheffield] accepted
payment from the third-party and instructed Joshua over the
phone on multiple occasions to ‘give him [the third-party} the

keys.’ This third-party was thereafter placed in possession of

the Ranger.” I

Mr. Johnson attached to his Original Complaint a “monthly

statement summary” from Sheffield dated April 19, 2016. !?
The statement was incorporated by reference in Mr. Johnson's

Supplemented Amended Complaint. 13 The statement shows
that a “payoff” amount was credited to the account on March
31 but removed on April 6, then another “payoff” amount was
credited on April 7 and removed on April 13, then finally a
third “payoff" amount was credited on April 16, three days

before the date on the statement. '* The statement says that

the “ACCOUNT IS PAID IN FULL.” ' In late April of carly
May 2016, Sheffield told Mr. Jotinson over the phone that
“the third-party's payment was returned for insufficient funds

and that [Mr. Johnson] still had outstanding debt” 16 Mr.

Johnson “denied that he owed anything to (Sheffield].” 7

Soon thereafter, Sheffield reported Mr. Johnson's loan as
delinquent to credit reporting agencies. Mr. Johnson did not
become aware that the loan was reported as delinquent until
late 2018 or early 2019, when he applied for credit and a

lender brought the matter to his attention ue

*3 After learning of the credit reporting, Mr. Johnson filed
a complaint with the Consumer Financial Protection Bureau
(“CFPR"). On February 27, 2019, Sheffield sent a letter
in response to the CFPB complaint. A copy of thal letter
was attached to the Original Complaint and incorporated by

reference in the Supplemented Amended Complaint. 19 The
letter stated, in relevant part:

Our records indicate you attempted an Automated
Clearinghouse (ACH) transfer of funds with a third party,

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The ACH transfer was attenipted three (3) times (March
31, 2016, April 7, 2016, and April 26, 2016) and each
time dishonored by the depository institution used with
their reason being no account found. We would take
these attempts to be related to the sale of the property
collatera] (the collateral) referenced in your complaint.
Sheffield mailed letters to your address on file regarding
these returned items and in a conversation with one of our
associates on April 29, 2016 and again on May 9, 2016 you
were advised of the returned items. On June 13, 2016 you
called our office then declaring the collateral to have been
stolen.

If you sold or transferred possession of the collateral
without assuring the loan was paid in full and our lien
satisfied, this is in violation of the terms of your loan
contract (paragraphs 7 and 8). If stolen, then insurance
should have been in place as outlined in paragraph 6.
Payments have not been made timely therefore the loan is
in default...

These actions were yours and not condoned by or
encouraged by Sheffield. We are under no obligation to
pay any fees or damages demanded in your complaint. We
regret the circumstances but find no wrongdoing or error in
handling by Sheffield. Sheffield continues to hold a valid

debt. 2°

After receiving the fetter, Mr. Johnson hired counsel. |
Again, there is no allegation that Sheffield reported the
account in a way that it thought was false or that Sheffield did
so with malice or willful intent to harm Mr. Johnson.

f am going to dismiss with prejudice for two reasons.
First, given my agreement with Chief Judge Marshall
in flodianya, the state common law claims pled in the
Supplemented Amended Complaint could never be viable
But even if Chief Judge Marshall and | are incorrect and

Fig 1681h(e) preemption applies instead of Fis 168 |t(b)
(I)(F) preemption, Mr. Johnson has had over six months and
numerous opportunities to amend his Complaint in such a
way that would properly state a non-preempted state common
law action. The Court's December 36, 2020 Order put Mr
Johnson on notice (or would have put a reasonable litigant
on notice) that his Original Complaint had deficiencies in

terms of pleading malice or willful intent to injure.” In
such circumstances, after numerous months and numerous
opportunities to amend, the Court believes dismissal with
prejudice is appropriate at this juncture. [f Mr. Johnson could
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have pled more regarding malice or willful intent, he would
have done so by now,

ll. FAIR CREDIT REPORTING ACT CLAIM

Mr. Johnson's FCRA claim is also out, Mr. Johnson bases

his FCRA claim on F215 U.S.C. § 16815-2(b), which
requires “furnishers of information” (meaning those, such
as Sheffield, who previde information about a consumer's
debt to a credit reporting agency for inelusion on the
consumer's credit report) to conduct an investigation if a
consumer disputes information that the furnisher provided.
The statute places a duty on furnishers to take corrective
action “if the investigation finds that the information is

I . wl
incomplete or inaccurate * Mr. Johnson states that he
requested an investigation because “his account is being

reported inaccurately.” 24 Mr. Johnson argues that Sheffield is

in violation of Pg 168 {s-2(b) because Sheffield “continues
to seport the account as delinquent” after the investigation was

completed. ?*

*4 But what “inaccurate” information does Mr. Johnson
allege that Sheffield found (or should have found) during
the investigation that would require it to stop reporting the
account as delinquent? His allegations in this regard do not
make out a FCRA violation. The Eighth Circuit has held that
“[blecause a furnisher's obligation to conduct a reasonable

investigation under Fy 168ls—2(b) arises when it receives
a notice of dispute from a [credit reporting agency], it need
investigate only ‘what it learned about the nature of the
dispute from the description in the [credit reporting agency ]'s

notice of dispute.” ” 26 Mr. Johnson provides a Dispute
Results letter that he received from Experian, which states that
Experian “contacted the company reporting the information
you disputed. [and] supplied them all relevant information

. , “2?
and any documents you gave us with your dispute...

Presumably, this means that Experian sent Sheffield the letter

that Mr. Johnson's counsel sent to Experian. 78 That letter
provided a brief overview of the alleged facts of the dispute,
including the fact that Mr. Johnson's son turned possession
of the Ranger over to a thied party at the behest of Sheffield,
that the “third party's payment was returned for insufficient
funds,” and that Sheffield contended that Mr. Johnson's

“debt was still due and owing.” 29 The letter concluded with
the following: “Under Arkansas law, Sheffield's inability to

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enforce its security interest in the Ranger renders it unable to
enforce or collect from the debt secured thereby. See ARK
CODE ANN. § 4-3-605 (2019). Please remove the Sheffteld

account from my client's credit reports.” 4

This strikes the Court as a legal dispute, not a factual dispute
for which an investigation could or should change things.
The Eighth Circuit has not culed on whether furnishers have
an obligation to resolve legal questions regarding a debt's
validity during the investigation process. Sheffield argues that
furnishers do not have such an obligation, citing a First Circuit
case holding that

a plaintiffs required showing [in

Fag 1681s-2(b) cases] is factual
inaccuracy, rather than the existence
of disputed legal questions...
[FJurnishers are neither qualified nor
obligated to resolve matters thal turn{ J
on questions that can only be resolved

by a court of law. _

The Court agrees with Sheffield and the First Circuit on this
point.

Mr. Johnson does not argue that the First Circuit's holding is

unsound, Rather, he argues that “there is a bona fide factual

rather than legal dispute concerning the subject account.” ¥

Mr. Johnson asserts that “[t]he dispute here is that Defendant
reported the account at one time as paid in full but then
thereafter changed its mind. This is a factual dispute and

should be resolved by a jury.” 4 There is, however, no factual
dispute that Sheffield reported that the account was “paid
in full” on Mr. Johnson's monthly statement while the third
attempt at the third-party payment was pending, then later told
Mr. Johnson that the “payment was returned for insufficient

funds and that the debt was still due and owing.” 4 It

is the legal significance of these facts, and not the facts
themselves, that are in dispute. Put another way, this is not
a situation of potential factual error on Sheffield’s part, such
as, for example, a case of identity theft, mistaken charges,
or improper books or records. The Court concludes that
Sheffield was not obligated to resolve the legal ramifications
of the facts contained in Mr. Johnson's Experian letter during
the investigation process. Sheffield's continued reporting of
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the debt as delinquent is not “inaccurate” for the purposes of

Fs 1681s-2(b) because the contract dispute has not been

I 4
resolved in Mr. Johnson's favor. ’

*§ The Court notes that Mr. Johnson's Supplemented
Amended Complaint exclusively claims that it is the
continued reporting of the debt as delinquent that constitutes
the FCRA violation. Mr. Johnson's Supplemented Amended
Complaint does not claim that Sheffield committed a FCRA
violation by failing (after investigation) to report to the
credit reporting agencies that the account delinquency is

disputed. 3© Because this allegation is not made, the Court
need not determine whether such an allegation would state a
viable cause of action.

Sheffield asks the Court to dismiss Mr. Johnson's FCRA claim
with prejudice. A sister district court has noted that “[wJhile
the Eighth Circuit does not appear to have addressed the issue
directly,” decisions from the Eighth Circuit “generally favor”
dismissals without prejudice for failures to state a claim,
“at least where there is no evidence of persistent pleading

. 37
failures.” >

The Court would be justified in concluding that there have
been “persistent pleading failures” in this case. The Court has
given Mr. Johnson ample opportunity to perfect his claims.
The Court granted Mr. Johnson leave to amend his Complaint
after Mr. Johnson conceded that he had failed to initiate the

investigation process as required by the FCRA. 38 The Court
granted an extension of time to file an amended Complaint
in order to accommodate his tardiness in initiating the

investigation. 39 The Court also granted leave to supplement

the Amended Complaint after it was filed. “

*6 Although the Court has given Mr. Johnson more than
etiough chances to cure the defects in his Complaint, the
Court will dismiss the FCRA claim without prejudice. Mr
Johnson could, at least theoreticatly, try again with respect to

the disputation issue identified by the Court above. a

III. CONCLUSION

For the reasons stated above, Sheffield’s Motion for Judgment
on the Pleadings is GRANTED. Mr. Johnson's FCRA claim
is DISMISSED without prejudice, and his state common
law claims are DISMISSED with prejudice. Mr. Johnson's
Motion and Supplemental Motion for Leave to File Amended
Complaint are DENIED as futile.

IT IS SO ORDERED this 30th day of June 2020.

All Citations

Slip Copy, 2020 WL 3546900

Footnotes

1 Def.'s Mot. for J. on the Pleadings (Dac. 12).

2 Pl.'s Mot. for Leave to Amend Compl. (Doc. 25); Pl.'s Suppl. to Mot. for Leave to Amend Compl. (Doc. 44).

3 Def.'s Mot. for Leave to Suppl. its Mot. for J. on the Pleadings (Doc. 37).

4 Although a state common taw claim for negligence was included in Mr. Johnson's Original Complaint, that
claim was removed in his Supplemented Amended Complaint. Mr. Johnson acknowledges that the removal
of that claim was intentional. Pl.'s Br. in Supp. of Mot. for Leave to Amend Compl. (Doc. 26) at 2,

F115 uU.S.c. § 1681t(b)(1XF)

See Pl.'s Br. in Supp. of Mot. for Leave to Amand Compl. (Doc. 26) at 3, quoting Reed v. Experian Info.
Sols., ince., 321 F. Supp. 2d 1109, 1116-17 (O. Minn. 2004). In his Reply brief, Plaintiff (for the first time)

also pointed to Fs U.S.C. § 1681n in arguing that state law claims based on willful non-compliance with

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FCRA requirements are not preempted. Pl.'s Reply to Resp. to Mot. for Leave to Amend Compl. (Dac. 30) at
5-6. A claim based on Fag 1681n, however, would be a federal claim, nota state claim. Furthermore, A 15

U.S.C. § 1681s—2(c) specifically exempts furnishers of information from liability under Fag 168 1n for reporting
inaccurate information. in short, this argument is simply not persuasive enough to carry the day, especially

when weighed against the plain language of Fs 168 1t(b}(1)(F). In any event, as the Court notes later in this
opinion, the Supplemented Amended Complaint fails to properly allege malice or willful intent to injure.

Fags3 F. Supp. 2d 772 (E.D. Ark. 2012).

F445 u.s.c. § 1681h(e).

9 Attach. (Am. Compl.) to Pl.'s Suppl. to Mot. for Leave to Amend Compl. (Doc. 44-1} at 7.
10 = fd. at.

11 Id. at.

12 PL's Compl. (Doc. 2) at 10.

13. Attach. (Am. Compl.) to PI's Suppi. to Mot. for Leave to Amend Compl. (Doc. 44-1) at 2.
14 —s— P's Compl. (Doc. 2) at 10.

15 id.

16 Attach. (Am. Compl.) to Pl.'s Suppl. to Mot. for Leave to Amend Compl. (Dac. 44-1) at 2.

17.
18 id.
19 id.at3.

20 ~—- P's Compl. (Doc. 2) at 11.
21 Attach. (Am. Compl.) to Pi.’s Suppl. to Mot. for Leave to Amend Compl. (Doc. 44-1) at 3.

22 See Order Den. Pl.'s Counter-Mot. for Protective Order and To Stay Proceedings, and Taking Under
Advisement Def.’s Mot. for J. on the Pleadings (Doc. 22} at 2-3.

F245 U.S.C. § 16815-2(b\1)(D).
24 ~= Attach. (Am. Compl.) to Pl.'s Suppl. to Mot. for Leave to Amend Compl, (Doc, 44-1) at 5,

25 let.

Anderson v. EMC Mortg. Corp., 631 F 3d 905, 908 (8th Cir. 2011}, quoting FAGorman v. Wolpoff & Abramson,
LLP, 584 F.3d 1147, 1157 (9th Cir. 2009).

27 Exhibit H (“Dispute Results” Letter from Experian) to Pl.'s Suppl. to Mot. for Leave to Amand Compl. (Doc.
44-3) at 1.

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28 See Attach. (Letter from Stephen B. Niswanger to Equifax, TransUnion, and Experian) to Pl.'s Resp. to
Mot. for J. on the Pieadings (Doc. 19-1). This letter was referenced in the “Facts” section of the proposed
Supplemented Amended Complaint. Attach. (Am. Compl.) to Pl.'s Suppl. to Mot. for Leave to Amend Compl.
(Doc. 44-1) at 3,

29 See Attach. (Letter from Stephen B. Niswanger to Equifax, TransUnion, and Experian) to Pl.'s Resp. to Mot.
for J. on the Pleadings (Doc. 19-1) at 4.

30 id. at 2.

4 FI chiang v. Verizon New England Inc., 595 F.3d 26, 38 (1st Cir. 2010} (quotations omitted), see also Hunt

v. JPMorgan Chase Bank, Nat? Ass'n. 770 F. App'x 452, 458 (11th Cir. 2019) (unpublished) ("A plaintiff
must show a factual inaccuracy rather than the existence of disputed legal questions to bring suit against a

furnisher under Fg 1681s-2(b).”)
32  ~=PI.'s Reply to Resp. to Mot. for Leave to Amend Compl. (Doc. 30} at 2.
33. fd, at 2-3.

34 Pl.'s Compl. (Doc. 2) at 2; Attach. (Am. Compl.) to Pl.’s Suppl. to Mot. for Leave to Amend Compl. (Doc
44-1) at 2.

35 Indeed, even if the Court were to later resolve the debt dispute in Mr. Johnson's favor, the fact that the
reporting of the debt was not “found to be inaccurate” prior to such a ruling does not necessarily mean
that Sheffield violated its investigation duties. As the Ninth Circuit has concluded, “[ajn investigation is not
necessarily unreasonable because it resulls in a substantive conclusion unfavorable to the consumer, even

if that conclusion turns out to be inaccurate.” Gorman v. Wolpoff & Abramson, LLP, 584 F.3d 1147, 1161

(9th Cir. 2009).
= Pays U.S.C § 1681s-2(a)(3) places a duty on furnishers of information to provide notice of a dispute if their
information is disputed by the consumer. Mr. Jchnson asserted in his Reply to the Motion for Leave to Amend
that Sheffield “does not now furnish to the credit bureaus information that the account is even disputed.” PI.'s
Reply to Resp. to Mot. for Leave to Amend Compl. (Doc. 30} at 2. But at the time the Reply was filed, the
investigation process had not yet been completed. /d. at 3-4. Sheffield's liability for failing to provide notice of
a dispute would arise only after the investigation process was completed, as it would then constitute a failure

to “modify” information that was “found to be ... incomplete.” lis U.S.C. § 1681s-2(b)(1)(E}i); see also

 seamans v. Tempie Univ., 744 F.3d 853, 867 (3d Cir. 2014) ("[A] private cause of action arises under 4s
U.S.C. § 16818-2(b) when, having received notice [from a credit reporting agency] of a consumer's potentially
meritorious dispute, a furnisher subsequently fails to report that the claim is disputed.”). The Supplemented
Amended Complaint, which was filed after Experian's investigation process was completed, does not allege
that Sheffield has violated its duty to provide notice of a dispute after the investigation concluded, Attach.
(Am. Comp!.} to Pl.'s Suppl. to Mot. for Leave to Amend Compl. (Doc. 44-1).

37 Holmseth v. City of E. Grand Forks, No. CIV, 14-2970 DWEF/LIB, 2015 WL 4488424 (D. Minn. July 23, 2015)

(citing Michaelis v. Neb. State Bar Ass'n, 717 F.2d 437, 438-39 (8th Cir. 1983} (“Ordinarily dismissal of
a plaintiffs complaint for failure to comply with Rule 8 should be with leave to amend. But if the plaintiff has
persisted in violating Rule 8 the district court is justified in dismissing the complaint with prejudice.” (internal
citation omitted))).

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38 Order Den. Pl.’s Counter-Mot. for Protective Order and To Stay Proceedings; and Taking Under Advisement
Def.'s Mot. for J. on the Pleadings (Dac. 22).

39 Order Granting Mot. for Extension of Time to File Mot. for Leave to Amend Compl. (Dac. 24).

40 Order Granting in Part and Den. in Part Mat. for Leave to Supp!. Mot. for Leave to Amend Compl. and Reply
(Doc. 41).

44 See supra note 36.

End of Document 2022 Thomson Reuters No claim to original U S Government Works

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